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                            No. 21-11001

             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE FIFTH CIRCUIT


                    UNITED STATES OF AMERICA,

                                           Plaintiff-Appellee,

                                   v.

                          ZACKEY RAHIMI,

                                         Defendant-Appellant.


            On Direct Appeal from the United States District
               Court for the Northern District of Texas
                         Fort Worth Division


                       RECORD EXCERPTS
                         Criminal Appeal


JASON D. HAWKINS                         BRANDON BECK
Federal Public Defender                  Assistant Federal Public Defender
                                         1205 Texas Ave. #507
                                         Lubbock, Texas 79424
                                         (806) 472-7236
                                         (806) 472-7241 (fax)
                                         brandon_beck@fd.org
                                         Bar No. 24082671

                                         Counsel for Appellant
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SENTENCE

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                                                                                          APPEAL,CLOSED
                                 U.S. District Court
                       Northern District of Texas (Fort Worth)
                  CRIMINAL DOCKET FOR CASE #: 4:21-cr-00083-P-1

Case title: USA v. Rahimi
Magistrate judge case number: 4:21-mj-00041-BJ

Date Filed: 04/14/2021
Date Terminated: 09/27/2021

Assigned to: Judge Mark Pittman
Appeals court case number:
21-11001 U.S. Court of Appeals 5th
Circuit


Defendant (1)
Zackey Rahimi                           represented by Brandon Elliott Beck-FPD
TERMINATED: 09/27/2021                                 Federal Public Defender
also known as                                          1205 Texas Avenue
Zachey Rahimi                                          Suite 506
TERMINATED: 09/27/2021                                 Lubbock, TX 79401
                                                       806-472-7236
                                                       Fax: 806-472-7241
                                                       Email: brandon_beck@fd.org
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED
                                                       Designation: Federal Public Defender Appointment
                                                       Bar Status: Admitted/In Good Standing

                                                      Michael A Lehmann-FPD
                                                      Federal Public Defender
                                                      819 Taylor Street
                                                      Room 9A10
                                                      Fort Worth, TX 76102
                                                      817-978-2753
                                                      Fax: 817-978-2757
                                                      Email: michael_lehmann@fd.org
                                                      TERMINATED: 04/20/2021
                                                      Designation: Federal Public Defender Appointment
                                                      Bar Status: Admitted/In Good Standing

                                                      Rachel Maureen Taft-FPD
                                                      Assistant Federal Public Defender
                                                      819 Taylor St.
                                                      Room 9A10
                                                      Fort Worth, TX 76102
                                                      817-978-2753
                                                      Fax: 817-978-2757

                                                                                               21-11001.1
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                                                    Email: rachel_taft@fd.org
                                                    TERMINATED: 10/07/2021
                                                    Designation: Federal Public Defender Appointment
                                                    Bar Status: Admitted/In Good Standing


Pending Counts                                      Disposition
                                                    Pursuant to the Sentencing Reform Act of 1984, as
                                                    amended, it is the judgment of the Court that the
                                                    defendant, Zackey Rahimi, in 4:21-CR-83-P, is hereby
                                                    committed to the custody of the Federal Bureau of
                                                    Prisons for a period of SEVENTY-THREE (73)
                                                    months. This sentence shall run consecutively to any
                                                    future sentence which may be imposed in Case Nos.
                                                    1635415, 1635418, 1635420 and 1654868 out of
                                                    Tarrant County, Texas, Criminal Court No. 5; and Case
                                                    Nos. 1657182D and 1678799D out of Criminal District
                                                    Court No. 3 of Tarrant County, Texas. This sentence
                                                    shall run concurrently with any future sentence which
                                                    may be imposed in Case Nos. 1672225 and 1671482
                                                    out of Tarrant County, Texas Criminal Court No. 5;
18 U.S.C. §§ 922(g)(8) and
                                                    and Case Nos. 1672223D, 1676245D and 1671143D
924(a)(2) Firearm Possession While
                                                    out of Criminal District Court No. 3 of Tarrant County,
Under Domestic Violence
                                                    Texas. The Court did not order a fine because the
Restraining Order
                                                    defendant does not have the financial resources or
(1)
                                                    future earning capacity to pay a fine. It is further
                                                    ordered that the defendant pay a special assessment of
                                                    $100. Supervised Release is Ordered for a term of
                                                    THREE (3) years. Pursuant to 18 U.S.C. 924(d) and 28
                                                    U.S.C. 2461(c), it is hereby ordered that defendants
                                                    interest in the following property is condemned and
                                                    forfeited to the United States: a Glock, Model 21 Gen
                                                    4, .45-caliber pistol, bearing Serial No. YBX386, and a
                                                    Century Arms, Model C308 Sporter, .308-caliber rifle,
                                                    bearing Serial No. C308E32588. The Court
                                                    recommends to the BOP that the defendant be
                                                    incarcerated at FCI Seagoville, or FCI Pollock, if
                                                    possible. The Defendant is remanded to the custody of
                                                    the US Marshal.


Highest Offense Level (Opening)
Felony


Terminated Counts                                   Disposition
None


Highest Offense Level
(Terminated)
None



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Complaints                                                  Disposition
18:922(g)(8) and 924(a)(2)
Unlawful firearm possession by a
person under domestic violation
protective order



Plaintiff
USA                                                   represented by Frank L Gatto-DOJ
                                                                     US Attorney's Office
                                                                     801 Cherry Street
                                                                     Suite 1700
                                                                     Fort Worth, TX 76102
                                                                     817/252-5213
                                                                     Fax: 817/252-5455
                                                                     Email: frank.gatto@usdoj.gov
                                                                     LEAD ATTORNEY
                                                                     ATTORNEY TO BE NOTICED
                                                                     Designation: US Attorney's Office
                                                                     Bar Status: Admitted/In Good Standing

 Date Filed         #       Docket Text

 01/15/2021       1 (p.8)   SEALED COMPLAINT (Clerk note: This case is to remain sealed until the defendant
                            has been arrested/appeared.) as to Zackey Rahimi sealed (1). In each Notice of
                            Electronic Filing, the judge assignment is indicated, and a link to the Judges Copy
                            Requirements and Judge Specific Requirements is provided. The court reminds the
                            filer that any required copy of this and future documents must be delivered to the
                            judge, in the manner prescribed, within three business days of filing. (jah)
                            [4:21-mj-00041-BJ] (Entered: 01/29/2021)

 04/14/2021      3 (p.19)   INDICTMENT with Forfeiture Notice as to Zackey Rahimi (1) count 1. In each
                            Notice of Electronic Filing, the judge assignment is indicated, and a link to the
                            Judges Copy Requirements and Judge Specific Requirements is provided. The court
                            reminds the filer that any required copy of this and future documents must be
                            delivered to the judge, in the manner prescribed, within three business days of filing.
                            (pef) (Entered: 04/15/2021)

 04/15/2021             6   (Document Restricted) APPLICATION FOR WRIT OF HABEAS CORPUS,
                            ORDER, AND WRIT ISSUED as to Zackey Rahimi. Person subject to writ must
                            appear. Issued Writ of Habeas Corpus Ad Prosequendum. Document access limited to
                            the USA and the applicable defendant. (CRD to deliver cert. copies to FTW USM)
                            (Ordered by Judge Mark Pittman on 4/15/2021) (pef) (Entered: 04/15/2021)

 04/19/2021      7 (p.23)   Minute Entry for proceedings held before Magistrate Judge Jeffrey L. Cureton: Initial
                            Appearance as to Zackey Rahimi held on 4/19/2021. Date of Arrest: 4/19/2021
                            (Appeared on writ). Location interval set to: LC. The judge issued the oral order
                            required by Fed. R. Crim. P. 5(f)(1). Written order to follow. Rule 5(f)
                            Admonishment given; deft waives det. hrg. Attorney Appearances: AUSA - Shawn
                            Smith for Frank Gatto; Defense - Michael Lehmann. (No exhibits) Time in Court -
                            :06. (Court Reporter: Digital File) (Interpreter N/A.) (USPO Kirksey.) (pef) (Entered:


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                         04/19/2021)

04/19/2021          8    (Document Restricted) CJA 23 Financial Affidavit by Zackey Rahimi. (pef) (Entered:
                         04/19/2021)

04/19/2021    9 (p.24)   ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to Zackey Rahimi.
                         (Ordered by Magistrate Judge Jeffrey L. Cureton on 4/19/2021) (pef) (Entered:
                         04/19/2021)

04/19/2021          10 ORDER PURSUANT TO FEDERAL RULE CRIMINAL PROCEDURE 5(f) as to
                (p.25) Zackey Rahimi:

                         This written order is entered pursuant to Rule 5(f)(1) of the Federal Rules of Criminal
                         Procedure, and is entered by the court on the first scheduled court date when both the
                         prosecutor and defense counsel are present.

                         By this order -- issued to the prosecution and defense counsel -- the court confirms the
                         disclosure obligations of the prosecutor under Brady v. Maryland, 373 U.S. 83 (1963),
                         and its progeny, and the possible consequences of violating such order under
                         applicable law. Failure to do so may result in consequences such as the dismissal of
                         the indictment or information, dismissal of individual charges, exclusion of evidence
                         or witnesses, adverse jury instructions, contempt proceedings, and/or sanctions by the
                         court. (Ordered by Magistrate Judge Jeffrey L. Cureton on 4/19/2021) (pef) (Entered:
                         04/19/2021)

04/19/2021          11 Motion for Pretrial Detention filed by USA as to Zackey Rahimi. (pef) (Entered:
                (p.26) 04/19/2021)

04/19/2021          12 ORDER OF DETENTION PENDING TRIAL as to Zackey Rahimi. (Ordered by
                (p.27) Magistrate Judge Jeffrey L. Cureton on 4/19/2021) (pef) (Entered: 04/19/2021)

04/19/2021          13 Minute Entry for proceedings held before Magistrate Judge Jeffrey L. Cureton:
                (p.28) Arraignment as to Zackey Rahimi (1) Count 1 held on 4/19/2021. Plea entered by
                       Zackey Rahimi: Not Guilty on count 1. Location interval set to: LC. Attorney
                       Appearances: AUSA - Shawn Smith for Frank Gatto; Defense - Michael Lehmann.
                       (No exhibits) Time in Court - :06. (Court Reporter: Digital File) (Interpreter N/A.)
                       (USPO N/A.) (pef) (Entered: 04/19/2021)

04/20/2021          14 NOTICE OF ATTORNEY APPEARANCE by Rachel Maureen Taft-FPD (Clerk to
                (p.29) Set Designation as: Federal Public Defender Appointment) appearing for Zackey
                       Rahimi (Filer confirms contact info in ECF is current.) (If sealed documents that you
                       are authorized to see were previously filed by U.S. Pretrial Services or U.S.
                       Probation, you will require assistance to gain access to them and any related filings.
                       Please call the clerk at 214.753.2240 during business hours to request access.)
                       (Taft-FPD, Rachel) (Entered: 04/20/2021)

04/20/2021          15 SCHEDULING ORDER FOR CRIMINAL TRIAL AND PRETRIAL ORDER as to
                (p.30) Zackey Rahimi: This case is set for jury trial at 9:00 am on Tuesday, June 1, 2021 in
                       Fort Worth, Texas, 4th Floor Courtroom before Judge Mark Pittman. Motions due by
                       5/11/2021. (Ordered by Judge Mark Pittman on 4/20/2021) (pef) (Entered:
                       04/20/2021)

04/21/2021          16 Arrest Warrant Returned Executed on 4/19/2021 as to Zackey Rahimi. (mmw)
                (p.40) (Entered: 04/21/2021)

05/07/2021

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                    17 MOTION to Dismiss Indictment filed by Zackey Rahimi (Taft-FPD, Rachel)
                (p.41) (Entered: 05/07/2021)

05/11/2021          18 Designation of Experts by USA (Gatto-DOJ, Frank) (Entered: 05/11/2021)
                (p.61)

05/11/2021          19 RESPONSE by USA as to Zackey Rahimi re: 17 (p.41) MOTION to Dismiss
                (p.63) Indictment (Gatto-DOJ, Frank) (Entered: 05/11/2021)

05/21/2021         20   ELECTRONIC ORDER as to Zackey Rahimi: Rearraignment set for 5/26/2021 09:30
                        AM in US Courthouse, Courtroom 2nd Floor, 501 W. 10th St. Fort Worth, TX
                        76102-3673 before Magistrate Judge Jeffrey L. Cureton. Attorneys and defendant to
                        be present in courtroom 15 minutes prior to hearing. (Ordered by Magistrate Judge
                        Jeffrey L. Cureton on 5/21/2021) (edm) (Entered: 05/21/2021)

05/26/2021          21 Minute Entry for proceedings held before Magistrate Judge Jeffrey L. Cureton:
                (p.65) Rearraignment Hearing as to Zackey Rahimi held on 5/26/2021. Plea entered by
                       Zackey Rahimi (1) Guilty Count 1. Location interval set to: LC. Attorney
                       Appearances: AUSA - Shawn Smith for Frank Gatto; Defense - Rachel Taft. (No
                       exhibits) Time in Court - :10. (Court Reporter: Monica Guzman) (Interpreter n/a.)
                       (USPO n/a.) (tln) (Entered: 05/26/2021)

05/26/2021          22 NOTICE/CONSENT REGARDING ENTRY OF A PLEA OF GUILTY as to Zackey
                (p.66) Rahimi. (tln) (Entered: 05/26/2021)

05/26/2021          23 Factual Resume as to Zackey Rahimi. (tln) (Entered: 05/26/2021)
                (p.67)

05/26/2021          24 Report and Recommendation on Guilty Plea as to Zackey Rahimi re: 22 (p.66)
                (p.70) Consent Regarding Entry of a Plea of Guilty. (Ordered by Magistrate Judge Jeffrey L.
                       Cureton on 5/26/2021) (tln) (Entered: 05/26/2021)

05/27/2021          25 NOTICE Regarding Acceptance of Responsibility filed by USA as to Zackey Rahimi
                (p.72) (Gatto-DOJ, Frank) (Entered: 05/27/2021)

05/28/2021          26 ORDER SETTING SCHEDULE FOR SENTENCING as to Zackey Rahimi:
                (p.74) Presentence Investigation Report due by 7/21/2021. Objections to Presentence
                       Investigation Report due by 8/4/2021. Presentence Investigation Addendum due by
                       8/18/2021. Objections to Presentence Investigation Addendum due by 8/25/2021. The
                       sentencing hearing is set for September 23, 2021 at 9:00 am in Fort Worth, Texas, 4th
                       Floor Courtroom before Judge Mark Pittman. (Ordered by Judge Mark Pittman on
                       5/28/2021) (pef) (Entered: 05/28/2021)

06/03/2021          27 ORDER as to Zackey Rahimi (1): The Court finds that Rahimi's 17 (p.41) Motion to
                (p.79) Dismiss Indictment should be and is hereby DENIED. (Ordered by Judge Mark
                       Pittman on 6/3/2021) (pef) (Entered: 06/03/2021)

06/10/2021         28   ELECTRONIC ORDER Accepting 24 (p.70) Report and Recommendations re:
                        Guilty Plea as to Zackey Rahimi (1). (Ordered by Judge Mark Pittman on 6/10/2021)
                        (chmb) (Entered: 06/10/2021)

08/31/2021          38 Unopposed MOTION for Preliminary Order of Forfeiture filed by USA as to Zackey
                (p.82) Rahimi (Gatto-DOJ, Frank) (Entered: 08/31/2021)

08/31/2021          39 PRELIMINARY ORDER OF FORFEITURE as to Zackey Rahimi (1): After review
                (p.86) of the government's unopposed 38 (p.82) Motion for a Preliminary Order of
                       Forfeiture, the Court GRANTS it. (Ordered by Judge Mark Pittman on 8/31/2021)

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                         (pef) (Entered: 08/31/2021)

09/20/2021          44 Defendant's Request for Adjustment for Time Served While Awaiting Sentencing as
                (p.89) to Zackey Rahimi (Taft-FPD, Rachel) Modified event on 9/21/2021 (pef). (Entered:
                       09/20/2021)

09/23/2021         45    ELECTRONIC Minute Entry for proceedings held before Judge Mark Pittman:
                         Sentencing held on 9/23/2021 for Zackey Rahimi (1), Count(s) 1. Pursuant to the
                         Sentencing Reform Act of 1984, as amended, it is the judgment of the Court that the
                         defendant, Zackey Rahimi, in 4:21-CR-83-P, is hereby committed to the custody of
                         the Federal Bureau of Prisons for a period of SEVENTY-THREE (73) months. This
                         sentence shall run consecutively to any future sentence which may be imposed in
                         Case Nos. 1635415, 1635418, 1635420 and 1654868 out of Tarrant County, Texas,
                         Criminal Court No. 5; and Case Nos. 1657182D and 1678799D out of Criminal
                         District Court No. 3 of Tarrant County, Texas. This sentence shall run concurrently
                         with any future sentence which may be imposed in Case Nos. 1672225 and 1671482
                         out of Tarrant County, Texas Criminal Court No. 5; and Case Nos. 1672223D,
                         1676245D and 1671143D out of Criminal District Court No. 3 of Tarrant County,
                         Texas. The Court did not order a fine because the defendant does not have the
                         financial resources or future earning capacity to pay a fine. It is further ordered that
                         the defendant pay a special assessment of $100. Supervised Release is Ordered for a
                         term of THREE (3) years. Pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), it
                         is hereby ordered that defendants interest in the following property is condemned and
                         forfeited to the United States: a Glock, Model 21 Gen 4,.45-caliber pistol, bearing
                         Serial No. YBX386, and a Century Arms, Model C308 Sporter,.308-caliber rifle,
                         bearing Serial No. C308E32588. The Court recommends to the BOP that the
                         defendant be incarcerated at FCI Seagoville, or FCI Pollock, if possible. The
                         Defendant is remanded to the custody of the US Marshal. Attorney Appearances:
                         AUSA - Frank Gatto; Defense - Rachel Taft. (No exhibits) Time in Court - :41.
                         (Court Reporter: Monica Guzman) (Interpreter N/A.) (chmb) (Entered: 09/23/2021)

09/23/2021          46 Notice of Right to Appeal Sentence as to Zackey Rahimi. (pef) (Entered: 09/24/2021)
                (p.92)

09/23/2021          47 Order Setting Additional Terms of Supervised Release as to Zackey Rahimi. (Ordered
                (p.93) by Judge Mark Pittman on 9/23/2021) (pef) (Entered: 09/24/2021)

09/27/2021          48 JUDGMENT as to Zackey Rahimi (1), Count 1, BOP - 73 months; S/R - 3 years; no
                (p.95) fine; MSA - $100. The Defendant is remanded to the custody of the US Marshal.
                       (Ordered by Judge Mark Pittman on 9/27/2021) (pef) (Entered: 09/27/2021)

10/05/2021          50 NOTICE OF APPEAL to the Fifth Circuit as to 48 (p.95) Judgment by Zackey
               (p.100) Rahimi. T.O. form to appellant electronically at Transcript Order Form or US Mail as
                       appropriate. Copy of NOA to be sent US Mail to parties not electronically noticed.
                       IMPORTANT ACTION REQUIRED: Provide an electronic copy of any exhibit you
                       offered during a hearing or trial that was admitted into evidence to the clerk of the
                       district court within 14 days of the date of this notice. Copies must be transmitted as
                       PDF attachments through ECF by all ECF Users or delivered to the clerk on a CD by
                       all non-ECF Users. See detailed instructions here. (Exception: This requirement does
                       not apply to a Defendant proceeding pro se.) Please note that if original exhibits are in
                       your possession, you must maintain them through final disposition of the case.
                       (Taft-FPD, Rachel) (Entered: 10/05/2021)

10/07/2021          51 Notice of Substitution of Counsel on behalf Federal Public Defender. Attorney
               (p.101) Brandon Elliott Beck-FPD added in case as to Zackey Rahimi. (Clerk to set

                                                                                                       21-11001.6
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                        designation as: Federal Public Defender.) (If sealed documents that you are
                        authorized to see were previously filed by U.S. Pretrial Services or U.S. Probation,
                        you will require assistance to gain access to them and any related filings. Please call
                        the clerk at 214.753.2240 during business hours to request access.) (Beck-FPD,
                        Brandon) (Entered: 10/07/2021)

10/07/2021          52 USCA Case Number as to Zackey Rahimi 21-11001 for 50 (p.100) Notice of Appeal,
               (p.102) filed by Zackey Rahimi. (tle) (Entered: 10/07/2021)

10/13/2021          53 NOTICE of Publication filed by USA as to Zackey Rahimi (Attachments: # 1 (p.8)
               (p.106) Exhibit(s) Advertisement Certification Report) (Gatto-DOJ, Frank) (Entered:
                       10/13/2021)

11/29/2021          54 Notice of Filing of Official Electronic Transcript of Guilty Plea at
               (p.111) Arraignment/Re-arraignment Proceedings as to Zackey Rahimi held on May 26, 2021
                       before Judge Jeffrey L. Cureton. Parties are notified of their duty to review and
                       request redaction of the transcript. See Misc Order (MO) 61 and Special Order (SO)
                       19-1. If the transcript contains information that should be redacted under SO 19-1,
                       contact the Operations Assistance Team at (214)753-2240 immediately. If the
                       transcript contains personal identifiers that must be redacted under MO 61,
                       Fed.R.Civ.P. 5.2 or Fed.R.Crim.P. 49.1, or if the transcript contains the name of a
                       minor child victim or a minor child witness that must be redacted under 18 U.S.C. §
                       3509, file a Redaction Request - Transcript within 21 days. If no action is taken, the
                       entire transcript will be made available through PACER without redaction after 90
                       calendar days. The clerk will mail a copy of this notice to parties not electronically
                       noticed. (60 pages) Court Reporter/Transcriber Monica Guzman, Telephone number
                       817-850-6681 or mguzman.csr@yahoo.com. A copy of the transcript may be
                       purchased from the court reporter or viewed at the office of the clerk. Redaction
                       Request under SO 19-1, due immediately. Redaction Request due 12/20/2021.
                       Redacted Transcript Deadline set for 12/30/2021. Release of Transcript Restriction set
                       for 2/28/2022. (mwg) (Entered: 11/29/2021)

11/29/2021          55 Notice of Filing of Official Electronic Transcript of Sentencing Proceedings as to
               (p.172) Zackey Rahimi held on September 23, 2021 before Judge Mark T. Pittman. Parties
                       are notified of their duty to review and request redaction of the transcript. See Misc
                       Order (MO) 61 and Special Order (SO) 19-1. If the transcript contains information
                       that should be redacted under SO 19-1, contact the Operations Assistance Team at
                       (214)753-2240 immediately. If the transcript contains personal identifiers that must be
                       redacted under MO 61, Fed.R.Civ.P. 5.2 or Fed.R.Crim.P. 49.1, or if the transcript
                       contains the name of a minor child victim or a minor child witness that must be
                       redacted under 18 U.S.C. § 3509, file a Redaction Request - Transcript within 21
                       days. If no action is taken, the entire transcript will be made available through
                       PACER without redaction after 90 calendar days. The clerk will mail a copy of this
                       notice to parties not electronically noticed. (32 pages) Court Reporter/Transcriber
                       Monica Guzman, Telephone number 817-850-6681 or mguzman.csr@yahoo.com. A
                       copy of the transcript may be purchased from the court reporter or viewed at the
                       office of the clerk. Redaction Request under SO 19-1, due immediately. Redaction
                       Request due 12/20/2021. Redacted Transcript Deadline set for 12/30/2021. Release of
                       Transcript Restriction set for 2/28/2022. (mwg) (Entered: 11/29/2021)




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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION


UNITED STATES OF AMERICA                            §
                                                    §
v.                                                  §            4:21-CR-00083-P (01)
                                                    §
ZACKEY RAHIMI                                       §


                                       NOTICE OF APPEAL

        Notice is hereby given that pursuant to 28 U.S.C. § 1291 and 18 U.S.C. § 3742, defendant

ZACKEY RAHIMI, through undersigned counsel, hereby appeals to the United States Court of

Appeals for the Fifth Circuit from the judgment of conviction and sentence in this matter.

                                                         Respectfully submitted,

                                                         JASON HAWKINS
                                                         Federal Public Defender
                                                         Northern District of Texas

                                                         BY: s/ Rachel M. Taft
                                                         RACHEL M. TAFT
                                                         Asst. Federal Public Defender
                                                         TX State Bar No. 24097171
                                                         819 Taylor Street, Room 9A10
                                                         Fort Worth, TX 76102
                                                         (817) 978-2753
                                                         (817) 978-2757 FAX
                                                         Rachel_Taft@fd.org

                                  CERTIFICATE OF SERVICE

        I, Rachel M. Taft, hereby certify that on this the 5th day of October 2021, I electronically filed
this document with the Clerk of the United States District Court, Northern District of Texas, using
the Court’s electronic filing system. This system sent a “Notice of Electronic Filing” to the Assistant
United States Attorney, Frank Gatto.

                                                         s/ Rachel M. Taft
                                                         RACHEL M. TAFT




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                    TAB 4
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                                       UNITED STATES DISTRICT COURT
                                            NORTHERN DISTRICT OF TEXAS
                                                 Fort Worth Division

UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE

v.                                                             Case Number: 4:21-CR-00083-P(01)
                                                               U.S. Marshal’s No.: 40471-509
ZACKEY RAHIMI                                                  Frank Gatto, Assistant U.S. Attorney
                                                               Rachel Taft, Attorney for the Defendant


       On May 26, 2021 the defendant, ZACKEY RAHIMI, entered a plea of guilty as to Count One of the
Indictment filed on April 14, 2021. Accordingly, the defendant is adjudged guilty of such Count, which
involves the following offense:

Title & Section                           Nature of Offense                                  Offense Ended          Count
18 U.S.C. §§ 922(g)(8) and 924(a)(2)      Firearm Possession While Under Domestic Violence   1/14/2021              One
                                          Restraining Order


       The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed
pursuant to Title 18, United States Code § 3553(a), taking the guidelines issued by the United States Sentencing
Commission pursuant to Title 28, United States Code § 994(a)(1), as advisory only.

        The defendant shall pay immediately a special assessment of $100.00 as to Count One of the Indictment
filed on April 14, 2021.

       The defendant shall notify the United States Attorney for this district within thirty days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid.


                                                             Sentence imposed September 23, 2021.




                                                             ____________________________________________
                                                             MARK T. PITTMAN
                                                             U.S. DISTRICT JUDGE


                                                             Signed September 27, 2021.




                                                                                                             21-11001.95
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                                               IMPRISONMENT

        The defendant, ZACKEY RAHIMI, is hereby committed to the custody of the Federal Bureau of Prisons
(BOP) to be imprisoned for a term of Seventy-Three (73) months as to Count One of the Indictment filed on
April 14, 2021. This sentence shall run consecutively to any future sentence which may be imposed in Case
Nos. 1635415, 1635418, 1635420 and 1654868 out of Tarrant County, Texas, Criminal Court No. 5; and Case
Nos. 1657182D and 1678799D out of Criminal District Court No. 3 of Tarrant County, Texas. This sentence
shall run concurrently with any future sentence which may be imposed in Case Nos. 1672225 and 1671482 out
of Tarrant County, Texas Criminal Court No. 5; and Case Nos. 1672223D, 1676245D and 1671143D out of
Criminal District Court No. 3 of Tarrant County, Texas.

       The Court recommends to the Bureau of Prisons that the defendant be incarcerated at FCI Seagoville, or
FCI Pollock, if possible.

       The defendant is remanded to the custody of the United States Marshal.

                                          SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be placed on supervised release for a term of
Three (3) years as to Count One of the Indictment filed on April 14, 2021.

       While on supervised release, in compliance with the standard conditions of supervision adopted by the
United States Sentencing Commission, the defendant shall:

       1) The defendant shall report to the probation office in the federal judicial district where he or she is
          authorized to reside within 72 hours of release from imprisonment, unless the probation officer
          instructs the defendant to report to a different probation office or within a different time frame;

       2) After initially reporting to the probation office, the defendant will receive instructions from the
          court or the probation officer about how and when to report to the probation officer, and the
          defendant shall report to the probation officer as instructed;

       3) The defendant shall not knowingly leave the federal judicial district where he or she is
          authorized to reside without first getting permission from the court or the probation officer;

       4) The defendant shall answer truthfully the questions asked by the probation officer;

       5) The defendant shall live at a place approved by the probation officer. If the defendant plans to
          change where he or she lives or anything about his or her living arrangements (such as the people
          the defendant lives with), the defendant shall notify the probation officer at least 10 days before
          the change. If notifying the probation officer at least 10 days in advance is not possible due to
          unanticipated circumstances, the defendant shall notify the probation officer within 72 hours of
          becoming aware of a change or expected change;

       6) The defendant shall allow the probation officer to visit the defendant at any time at his or her
          home or elsewhere, and the defendant shall permit the probation officer to take any items
                                                                                                 21-11001.96
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         prohibited by the conditions of the defendant's supervision that he or she observed in plain view;

      7) The defendant shall work full time (at least 30 hours per week) at a lawful type of employment,
         unless the probation excuses the defendant from doing so. If the defendant does not have full-
         time employment, he or she shall try to find full-time employment, unless the probation officer
         excuses the defendant from doing so. If the defendant plans to change where the defendant works
         or anything about his or her employment (such as the position or the job responsibilities), the
         defendant shall notify the probation officer at least 10 days before the change. If notifying the
         probation officer in advance is not possible due to unanticipated circumstances, the defendant
         shall notify the probation officer within 72 hours of becoming aware of a change or expected
         change;

      8) The defendant shall not communicate or interact with someone the defendant knows is engaged
         in criminal activity. If the defendant knows someone has been convicted of a felony, the
         defendant shall not knowingly communicate or interact with that person without first getting the
         permission of the probation officer;

      9) If the defendant is arrested or questioned by a law enforcement officer, the defendant shall notify
         the probation officer within 72 hours;

      10) The defendant shall not own, possess, or have access to a firearm, ammunition, destructive
          device, or dangerous weapon (i.e., anything that was designed , or was modified for, the specific
          purpose of causing bodily injury or death to another person, such as nunchakus or tasers);

      11) The defendant shall not act or make an agreement with a law enforcement agency to act as a
          confidential human source or informant without first getting the permission of the court;

      12) If the probation officer determines that the defendant poses a risk to another person (including an
          organization), the probation officer may require the defendant to notify the person about the risk
          and the defendant shall comply with that instruction. The probation officer may contact the
          person and confirm that the defendant has notified the person about the risk; and,

      13) The defendant shall follow the instructions of the probation officer related to the conditions of
          supervision.


      In addition the defendant shall:

         not commit another federal, state, or local crime;

         not possess illegal controlled substances;

         not possess a firearm, destructive device, or other dangerous weapon;

         cooperate in the collection of DNA as directed by the U.S. probation officer;

                                                                                              21-11001.97
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          submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
          tests thereafter, as determined by the court;

          pay the assessment imposed in accordance with 18 U.S.C. § 3013;

          participate in outpatient mental health treatment services as directed by the probation officer until
          successfully discharged, which services may include prescribed medications by a licensed physician,
          with the defendant contributing to the costs of services rendered (copayment) at a rate of at least $25
          per month; and,

          participate in an outpatient program approved by the probation officer for treatment of narcotic or
          drug or alcohol dependency that will include testing for the detection of substance use, abstaining
          from the use of alcohol and all other intoxicants during and after completion of treatment,
          contributing to the costs of services rendered (copayment) at the rate of at least $25 per month.

                                             FINE/RESTITUTION

        The Court does not order a fine or costs of incarceration because the defendant does not have the
financial resources or future earning capacity to pay a fine or costs of incarceration.

       Restitution is not ordered because there is no victim other than society at large.

                                                 FORFEITURE

        Pursuant to 18 U.S.C. §982(a)(1) and 28 U.S.C. § 2461(c), it is hereby ordered that the defendant's
interest in the following property is condemned and forfeited to the United States: a Glock, Model 21 Gen
4,.45-caliber pistol, bearing Serial No. YBX386, and a Century Arms, Model C308 Sporter,.308-caliber rifle,
bearing Serial No. C308E32588.




                                                                                               21-11001.98
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                                               RETURN

            I have executed this judgment as follows:




            Defendant delivered on _____________________ to ___________________________________

      at ________________________________________________, with a certified copy of this judgment.


                                                        United States Marshal

                                                        BY
                                                        Deputy Marshal




                                                                                    21-11001.99
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                                Certificate of Service

       I, Brandon Beck, hereby certify that on February 2, 2022, the record excerpts

was served via ECF email to counsel for the Respondent, Assistant U. S. Attorney

Leigha Simonton. I further certify that: 1) all privacy redactions have been made

pursuant to 5th Cir. Rule 25.2.13; 2) the electronic submission is an exact copy of

the paper document pursuant to 5th Cir. Rule 25.2.1; and 3) the document has

been scanned for viruses with the most recent version of Norton Anti-virus and is

free of viruses.

       I certify that a paper copy of this brief was sent via first-class legal mail to

Zackey Rahimi, Reg. No. 40471-509, Tarrant County Jail, Green Bay Detention

Center, 5136 Northeast Pkwy., Fort Worth, TX 76106.

                                               /s/ Brandon Beck
                                               Counsel for Appellant
